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17                                UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                      SAN FRANCISCO DIVISION

20   WAYMO LLC,                                            Case No. 3:17-cv-00939-WHA

21                         Plaintiff,                      DEFENDANTS’ UBER
                                                           TECHNOLOGIES, INC. AND
22          v.                                             OTTOMOTTO LLC’S OPPOSITION
                                                           TO WAYMO’S MOTION TO
23   UBER TECHNOLOGIES, INC.,                              SUPPLEMENT ITS TRIAL WITNESS
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                     LIST
24
                           Defendants.                     Trial Date:      February 5, 2018
25

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           REDACTED VERSION OF DOCUMENT SOUGHT TO FILED UNDER SEAL
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 1           Waymo’s motion for leave to supplement its trial witness list should be denied. Not only

 2   is Waymo’s motion untimely, but it also fails on the merits. This Court’s exclusion of Michael

 3   Wagner does not serve as a basis for Waymo to add any of its three identified witnesses or any

 4   previously undisclosed damages computations or theories. Indeed, Mr. Wagner’s expert reports

 5   do not even mention one witness, Shawn Bananzadeh, and Waymo already unsuccessfully moved

 6   to add Mr. Bananzadeh to its witness list before Mr. Wagner was excluded. With respect to the

 7   second witness, Prabir Adarkar, Mr. Wagner’s report does not mention him or his testimony in

 8   the either the unjust enrichment or reasonable royalty sections. Finally, Waymo’s request to add

 9   an Uber document custodian to authenticate and lay a foundation for documents is improper, and

10   both of Waymo’s cases support Uber’s position when the Court’s holding is cited (rather than

11   Waymo’s citation to the losing party’s argument).

12   I.      ARGUMENT

13           A.       Waymo’s Disclosure of New Witnesses Is Untimely

14           This Court’s “Supplemental Order to Order Setting Initial Case Management Conference

15   in Civil Cases” states at paragraph 28: “Rule 26 requires certain automatic disclosures and

16   requires them to be made in a timely manner.” See Ex. 11. In addition, this Court’s Jury Trial

17   Guidelines state: “All parties are reminded of their disclosure duties under FRCP 26(a)(3), which

18   begin THIRTY CALENDAR DAYS before trial.” See Ex. 2 (Jury Trial Guidelines ¶ 1 (emphasis

19   in original).)

20           On November 15, 2017, Waymo added a new witness (Prabir Adarkar) to its “will call”

21   witness list without even seeking leave to do so. Mr. Adarkar was never previously disclosed in

22   any of Waymo’s Rule 26 initial disclosures. On the same day, Waymo also added Shawn

23   Bananzadeh to its “will call” list—he also was not disclosed in any of Waymo’s Rule 26 initial

24   disclosures. In fact, the Court previously denied Waymo’s request to supplement its witness list

25   to add Mr. Banazadeh and ruled that if Mr. Bananzadeh is allowed to testify at all, it would only

26
             1
27               All exhibits are attached to the 12/3/2017 Declaration of Matthew R. Berry.
28

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 1   be in rebuttal: “If they use the 30(b)(6) deposition in any way before the jury, through an expert

 2   or directly read in, then [Mr. Bananzadeh] gets to come back and explain it in your rebuttal case,

 3   but not in your case-in-chief. In other words, you can’t use him in your case-in-chief because he’s

 4   a new witness.” Ex. 3 (10/26/2017 Hr’g Tr. 12:2-11 (emphasis added).) Despite that ruling,

 5   Waymo added him to its most recent “will call” witness list against the Court’s directive. Finally,

 6   Waymo seeks to add an Uber document custodian to its witness list, which was not included on

 7   any of Waymo’s previous witness lists.

 8            Because these witnesses were not timely disclosed, they should not be allowed to testify at

 9   trial.

10            B.     Mr. Wagner’s Exclusion Does Not Provide a Basis to Add New Witnesses and
                     Theories
11

12            Waymo wrongly argues that the Court’s exclusion of Mr. Wagner a month ago provides a

13   basis for adding witnesses. It does not. Even if it did, Mr. Wagner’s expert report (which is over

14   100 pages long) does not even mention Mr. Bananzadeh and does not rely on Waymo’s asserted

15   development costs. Indeed, the fact that Waymo attempted (and failed) to add Mr. Bananzadeh

16   before Mr. Wagner was excluded demonstrates Mr. Bananazedeh is not intended to introduce

17   evidence Wagner would otherwise have relied on at trial but to introduce new damages theories

18   and evidence. And while Mr. Wagner mentioned Mr. Adarkar in his opening report, Waymo fails

19   to note that it was a single paragraph (¶ 359) in the irreparable harm section. Mr. Wagner did not

20   even mention Mr. Adarkar’s name or rely on his testimony in the unjust enrichment or reasonable

21   royalty sections of his report. See Dkt. No. 1619-3.

22            In a November 22, 2017 email to Uber’s counsel, Waymo provided the following

23   description of the expected testimony from Mr. Bananzadeh and Mr. Adarkar:

24            Our current witness list provides an overview of the testimony we are seeking
              from each witness. The witness list says that we expect Mr. Bananzadeh to
25            provide non-cumulative testimony regarding costs of development of, and
              management of Waymo’s self-driving cars and autonomous vehicle technology. It
26            also says that we expect Mr. Adarkar to provide non-cumulative testimony
27            regarding Uber’s financial forecasts for autonomous vehicles, and Uber’s
              competitive relationship with Waymo, including its willingness to cut prices to
28            compete with Waymo.

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 1   Ex. 4 (emphasis added). But Mr. Banazadeh’s expected testimony has nothing to do with

 2   Mr. Wagner or his exclusion. Mr. Wagner did not rely on the costs of development of and

 3   management of Waymo’s self-driving cars and autonomous vehicle technology in arriving at

 4   unjust enrichment and reasonably royalty numbers. In fact, he focused on documents from Uber:

 5   the Nina Qi slide and the run rate from John Bares’ notes.

 6          Similarly, with respect to Mr. Adarkar’s expected testimony, Mr. Wagner did not rely on

 7   Uber’s financial forecasts (other than the Qi slide) or Uber’s purported willingness to cut prices to

 8   compete with Waymo to calculate unjust enrichment or reasonable royalty figures. If Waymo

 9   wants to inquire about the Qi slide, Ms. Qi is already on its witness list. If Waymo simply wants

10   to establish that Uber and Waymo are competitors, one of its current witnesses is capable of

11   providing that testimony.

12          But it is entirely improper for Waymo to elicit evidence concerning Uber’s “$

13                ” (Mot. at 6), which merely reflect the wealth of the defendant and would “skew the

14   damages horizon for the jury.” See Virnetx, Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1333

15   (Fed. Circ. 2014) (“[T]he disclosure that a company has made $19 billion dollars in revenue from

16   an infringing product cannot help but skew the damages horizon for the jury, regardless of the

17   contribution of the patented component to this revenue.” (citation omitted)). Finally, Uber’s

18   financial forecasts are also not relevant. While Georgia Pacific Factor No. 8 looks to the

19   established profitability of the defendant, it’s undisputed that Uber has not made a profit on its

20   autonomous vehicle program, and the parties agreed to remove this factor from the agreed

21   reasonable royalty instructions. See Dkt. No. 2229 at 8-9.

22          To the extent Waymo is seeking to add these witnesses to testify about an entirely new

23   damages theory, the Court should reject it. Waymo violated Rule 26(a) by failing to disclose “a

24   computation of each category of damages[.]” Fed. R. Civ. P. 26(a)(1)(A)(iii); see also

25   Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., No. C 12-01669 WHA, 2012 WL

26   5504036, at *2 (N.D. Cal. Nov. 13, 2012). Disclosing evidence underlying a damages

27   computation is not sufficient—Waymo must also disclose a computation. See Easton v. Asplundh

28   Tree Experts, Co., 2017 WL 5483769, *4 (W.D. Wash. Nov. 15, 2017) (excluding damages

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 1   evidence for violating Rule 26 because “making certain documents available and promising that

 2   someone (in this case Plaintiff) will testify regarding damages is not a ‘computation’ and fails to

 3   apprise Defendant of the extent of its exposure in this case.”); Hoffman v. Alam et al., 541 F.3d

 4   1175, 1179-80 (9th Cir. 2008) (“Finally, we reject the notion that the district court was required to

 5   make a finding of willfulness or bad faith to exclude the damages evidence. To the contrary, the

 6   portion of Rule 37 relied on by the district court has been described as ‘a self-executing,

 7   automatic sanction to provide a strong inducement for disclosure of material.’” (citation

 8   omitted)). Permitting Waymo to add new witnesses to testify about an undisclosed damages

 9   computation is doubly improper and only compounds the significant prejudice to Uber.

10          C.      Waymo’s Development Cost Theory is Improper and Mr. Bananzadeh is Not
                    Competent to Testify About It
11

12          In discovery, Waymo told Uber that it did not track the cost of development of its trade

13   secrets and would need an expert to calculate the costs (which Waymo never retained). See Ex. 5

14   (Plaintiff’s Amended Fourth Supplemental Objections and Responses to Uber’s First Set of

15   Interrogatories (Number 6)) (“

16

17                                            ”). Waymo did, however, claim that it

18

19

20                  . See id. But this “         ” is entirely improper because it fails to apportion

21   expenses to the development of each trade secret. It also leads to an absurd result by double-

22   counting expenses: according to this “          ,”

23

24                                 . Defs.’ MIL 24, Dkt. 1559. Finally, Waymo has consciously

25   chosen not to provide a witness to support its theory of cost of development. As explained below,

26   Mr. Bananzedeh, Waymo’s corporate representative on the topic, knew nothing about the trade

27   secrets, how and when they were developed, or what justified Waymo’s claim that all program

28   costs could be attributed to the alleged trade secrets. He even testified (wrongly) that Waymo’s

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 1   cost of development theory was based on an expert opinion Waymo had obtained.

 2           Uber moved to exclude these development cost figures as irrelevant to Waymo’s damages

 3   claim and as unduly prejudicial because they could only serve to skew any damages verdict.

 4   MIL 24, Dkt. No. 1559. The Court was skeptical Waymo’s figures could be probative and ruled

 5   that Waymo must seek advance permission via a written offer of proof before trying to introduce

 6   any evidence about these estimates at trial. Dkt. No. 2166 at 15 (“It seems unlikely that this type

 7   of simple comparison between two very different corporations’ expenses could add much

 8   probative value to Uber’s internal document containing the $20 million figure, which could speak

 9   for itself, especially given the vast universe of variables that would be swept under the rug.”).

10   Waymo’s current motion to supplement its witness list does not even seek permission to

11   introduce the development cost evidence, and Waymo does not address the authority cited in

12   Waymo’s Motion in Limine No. 24 (Dkt. No. 1559) or the Court’s concern about the evidence.

13           Waymo argues that the development costs are relevant to whether the allegedly

14   misappropriated information constitutes protectable trade secrets. Motion at 4. But that argument

15   contradicts Waymo’s position that Mr. Bananzedeh will testify concerning damages because

16   Mr. Wagner was excluded. Whether information constitutes a trade secret has nothing to do with

17   damages. And these numbers merely represent total expenditures for Waymo—               of which is

18   attributable to a single                                      —which has nothing to do with

19   amount of money expended to develop a particular trade secret for a particular aspect of the

20   project. By Waymo’s logic, everything Waymo did should qualify as a trade secret because

21   everything was part of an overall program costing $             .

22           Although Waymo now claims that these estimates are relevant to unjust enrichment

23   damages and to the hypothetical negotiation (Mot. at 5), Mr. Wagner did not even mention them

24   in the unjust enrichment section of his report. In fact, the development cost figures are recited

25   only in the “Background” section of the Mr. Wagner’s report (¶ 79), and they form no part of the

26   unjust enrichment or reasonable royalty analysis. See Dkt. No. 1619-3 (Wagner report).

27           In addition, the term “development costs” is not mentioned in the agreed “Reasonable

28   Royalty” instruction that the parties submitted after Mr. Wagner was excluded (see Dkt.

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 1   No. 2229), and courts have held it improper to consider it as a factor where the defendant did not

 2   destroy the value of the trade secrets by publishing them. See Softel, Inc. v. Dragon Med. & Sci.

 3   Commc’ns, Inc., 118 F.3d 955, 969 (2d Cir. 1997) (“University Computing itself rejected Softel’s

 4   proffered measure of damages: it stated that such a measure usually was appropriate only where

 5   the defendant had destroyed the value of the secret. [] Here, Dragon did not publish Softel’s

 6   secrets, and therefore did not destroy their value to Softel, other than to the extent that Dragon

 7   itself used them.”).

 8           Waymo’s reliance on W.L. Gore & Associates, Inc. is misleading because Waymo quotes

 9   from the “Cost-Based Measure” section of the order rather than the “Unjust Enrichment” section,

10   and Waymo has never argued for any measure of damages other than unjust enrichment and

11   reasonable royalty. Such a method to calculate damages is also not reliable. See, e.g., Applied

12   Hydrogel Tech., Inc. v. Raymedica, Inc., 2008 WL 5500756, at *2 (S.D. Cal. Oct. 7, 2008)

13   (holding that “Plaintiff has failed to establish that the ‘cost to create or duplicate’ is a reliable

14   method for calculating the value of trade secrets or confidential information” because “examples

15   illustrate that this methodology is inconsistent, and more importantly, that it is detached from

16   reality and common sense”).

17           Finally, even if Waymo were permitted to introduce its improper argument about each

18   trade secret costing all of Waymo’s overall expenditures, Mr. Banazadeh is not competent to offer

19   that testimony because he lacks personal knowledge of how much it cost to develop Waymo’s

20   asserted trade secrets. Although Waymo designated him as its 30(b)(6) witness on the topic of

21   cost of development, Mr. Banazadeh could only testify about the total costs incurred by the entire

22   program. Mr. Banazadeh admitted he has no personal knowledge about the development of each

23   trade secret and that it is the province of expert testimony:

24           Q:     Do you understand that you were designated a corporate witness, so you’re
             supposed to testify on behalf of the company regarding the cost of each of the
25           alleged trade secrets? Are you not prepared to testify as to that today?
26           A. . . . I am not technically minded to say that a trade secret involved this cost
27           versus that cost. I think that’s a more expert-based formulation.

28

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 1           And I’m not prepared or capable of – of creating – like, I’m not an expert, right.
             Like, my understanding is you – you have expert reports on these kinds of things,
 2           and there will be a whole, you know, rigamorole around that.
 3   Ex. 6 (Bananzedeh Dep. at 95:1-21; accord id. 109:1-12). Likewise, his only basis for his
 4   surmise that the program costs could be attributable to the trade secrets at issue was based on his
 5   mistaken belief that Waymo had retained an expert who would support the theory:
 6           Q:      What is the cost of developing Trade Secret 2, Trade Secret 25, and Trade
             Secret 90?
 7
             A:      So to the extent that the expert has surmised that development of that trade
 8           secret is something that is kind of program inception to the date that, again, this
             comes to, like, fruition or whatever you want to call it, it-- It is that 1 point -- it is
 9           the spend for the entirety of the program from that inception to the date that that’s
             cut off at, which is 2015 or ’16, based on the spreadsheet.
10

11   Id. at 109:1-12 (emphasis added); accord id. at 94:11-20 (“So one thing in -- in answering

12   your question, I think you said that my testimony was that it costs                 to formulate

13   those two trade secrets. So I just want to say first that, like, that’s – that’s not my

14   testimony. What -- what I’m saying is that insofar is that an expert calculated this, it’s --

15   I'm showing the -- my testimony is that in the years 2009 through 2015, those were the

16   expenses incurred.”).

17           Finally, Waymo suggests that it will introduce an exhibit through Mr. Bananzedeh

18   illustrating when each trade secret was developed on a chart showing overall program

19   expenditures over time. Mot. at 4. However, Mr. Bananzedeh lacks any personal

20   knowledge about when these trade secrets were developed and therefore could not sponsor

21   the chart. Ex. 6 at 138:15-25.

22           D.      Waymo Cannot Add an Uber Document Custodian as a Witness
23           Waymo claims that it needs to add a document custodian “so it can efficiently authenticate

24   and lay a foundation for documents that the jury can use to evaluate damages resulting from

25   Defendants’ misappropriation.” Waymo Motion at 6. But a document custodian has no personal

26   knowledge about the substance of these documents, and therefore it would be improper under

27   Rule 602 for Waymo to question a document custodian concerning their substance. If a

28   document custodian could lay a foundation to admit all business records into evidence for any use

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 1   at trial, then Uber could call a single Waymo document custodian to get into evidence every

 2   Waymo document on its exhibit list. That’s not how it works.

 3          Waymo’s example demonstrates why its plan will not work. Waymo argues, “For

 4   example, TX-821 reflects the Head of ATC’s view on the importance of LiDAR to the overall

 5   AV timeline at the time of misappropriation.” Motion at 7. But a document custodian has no

 6   personal knowledge about TX-821 or John Bares’ view on the importance of LiDAR. To the

 7   extent Waymo wants to introduce that testimony, it must call Mr. Bares (whom Waymo deposed

 8   twice) or one of the other individuals who received the email (all of whom are already on

 9   Waymo’s witness list). The same is true for the other trial exhibits that Waymo references.

10          Neither case that Waymo cites supports its position. Waymo first cites Mc Asset

11   Recovery, LLC v. Castex Energy, Inc. for the proposition that calling a document custodian to

12   “authenticate and lay a foundation for documents” is an “accepted and allowable approach.”

13   Waymo Motion at 6. But that’s not at all what the court held in that case. In fact, Waymo

14   suggests it was quoting from the court’s holding when in fact Waymo is actually quoting the

15   court’s description of the plaintiff’s argument, omitting the underlined portion: “Plaintiff

16   explains that one of the primary purposes behind the subpoena is to procure a records custodian to

17   authenticate certain documents for introduction at trial.” 2013 WL 12171724, *2 (N.D. Tex.

18   Jan. 7, 2013) (emphasis added). Indeed, the court’s actual conclusion undercuts Waymo’s

19   position: “Rule 45 does not expressly authorize a party to subpoena a ‘corporate designee [to]

20   testify ‘vicariously’ at trial’ in the way that Rule 30(b)(6) does for a deposition.” Id. at *1

21   (alterations in original, citation omitted). As a result, the court held, “Extrapolating from these

22   rules, the Court concludes that the trial subpoenas Plaintiff served on Defendants are proper only

23   to the degree that they seek testimony that is within the scope of what was previously given by

24   Defendants’ corporate designee at his Rule 30(b)(6) deposition.” Id. In short, Waymo’s case

25   strongly supports Uber’s position.

26          Waymo’s only other authority further undercuts its position. Waymo cites Commodity

27   Futures Trading Comm’n v. Amerman, No. 1:07-CV-2280-HTW, 2011 WL 13121207, at *1

28   (N.D. Ga. Oct. 7, 2011) to support its argument that it is “an accepted and allowable approach” to

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 1   subpoena a document custodian to testify at trial to authenticate and lay a foundation for

 2   documents. Waymo’s Motion at 7. But Amerman dealt with a deposition subpoena under

 3   Rule 30(b)(6), not a trial subpoena:

 4          This matter comes before the Court on Plaintiff’s Motion for Sanctions to compel
            Defendant Gregg Amerman (“Amerman”) to designate a corporate representative
 5          of Dream Venture Group, LLC (“DVG”) to testify in this matter after the Court
            earlier granted Plaintiff's Motion for an order compelling DVG, a company
 6          formerly operated by Amerman, to designate a witness to testify on its behalf
 7          under Fed.R.Civ. P. 30(b)(6). DVG had failed to designate a representative in
            response to the Court’s earlier order.
 8

 9   (emphasis added). Uber does not dispute that it is proper to depose a corporate representative

10   under Rule 30(b)(6) to authenticate documents—that is not what Waymo is attempting to do here

11   by seeking leave to add a document custodian to its witness list.2

12          Finally, the exclusion of Mr. Wagner does not provide an excuse for adding a document

13   custodian because Mr. Wagner could not have provided a foundation to admit the documents into

14   evidence under Rule 703; while Mr. Wagner could have relied on the documents in forming his

15   opinion, the underlying documents would not have been admitted as substantive evidence with

16   Mr. Wagner. See, e.g., Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1261 (9th Cir. 1984)

17   (where expert relies on otherwise inadmissible evidence, such evidence may only be admitted

18   “for the limited purpose of explaining the basis for his expert opinion” and cannot be considered

19   as substantive evidence) (citations omitted).

20   II.    CONCLUSION

21          For the foregoing reasons, Defendants respectfully request that this Court deny Waymo’s

22   Motion. Mr. Wagner’s exclusion does not provide a legitimate excuse for Waymo’s untimely

23   attempt to supplement its witness list. That is especially true here where Waymo is seeking to

24   have the witnesses testify about a still undisclosed damages theory in violation of this Court’s

25   orders and Rule 26.
            2
26            Waymo’s request to depose a document custodian for four hours is similarly improper.
     Fact discovery ended months ago, and Waymo has no legitimate reason for its untimely request to
27   depose a document custodian.
28

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 1   Dated: December 3, 2017                      MORRISON & FOERSTER LLP
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     UBER’S OPPOSITION TO WAYMO’S MOTION TO SUPPLEMENT TRIAL WITNESS LIST                    10
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 1                            ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Opposition to Waymo’s Motion to Supplement Its Trial Witness List . In compliance with Civil

 4   L.R. 5-1(i)(3), I hereby attest that William Christopher Carmody has concurred in this filing.

 5

 6   Dated: December 3, 2017                                   /s/ Arturo J. González
                                                                   Arturo J. González
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